Case 23-11753-mdc   Doc 9   Filed 06/16/23 Entered 06/16/23 11:49:23   Desc Main
                            Document      Page 1 of 1


                IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


         IN RE:                        :      Chapter 13

         Trevor L. Wiggins             :      No.   23-11753-mdc
           Debtor




        CERTIFICATE OF SERVICE PURSUANT TO LOCAL RULE 3015.1

     I, David M. Offen, Esquire, Attorney for the above-named
Debtor(s) hereby certify that a copy of the Debtor's Chapter 13
Plan has been served on all priority, secured and unsecured
creditors or their counsel.


Date:    June 16, 2023                /s/ David M. Offen
                                      David M. Offen
                                      Attorney for Debtor(s)
